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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    v.                                                     Crim. Case No. 23-332 (RBW)

    MATTHEW SCHMITZ,

                           Defendant.



                                    MOTION FOR CONTINUANCE

         The Defendant, Matthew Schmitz, pled guilty to Count One of the Information charging

a violation of 18 U.S. § 1752(a)(1), Entering and Remaining in a Restricted Building or Grounds.

Mr. Schmitz is scheduled for sentencing on January 16, 2025. I write to respectfully request a

45-day continuance of sentencing. 1 We respectfully submit, that a short continuance of sentence

would not disrupt the efficient operation of the court.

         On November 5, 2024, former President Donald Trump was re-elected with 312 electoral

votes and 49.9% of the popular vote. In a recent Meet the Press interview, President-elect Trump

said he would be “acting very quickly,” “first day” to begin looking at January 6th cases to issue

pardons. 2 Yesterday, President-elect Trump reiterated that same intention in a Time magazine




1
  This is Mr. Schmitz’s first request for a continuance. The government opposes this motion. The defendant’s
sentencing memorandum is due on January 6, 2025.
2
  https://www.nbcnews.com/politics/donald-trump/trump-interview-meet-press-kristen-welker-election-president-
rcna182857. (“But I’m going to be acting very quickly. Within your first 100 days, first day? First day. First day?
Yeah. I’m looking first day. You’re going to issue these pardons? These people have been there, how long is it?
Three, four years.”)



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interview - that he will begin to pardon “in the first hour that I get into office” the January 6

defendants. 3

        Mathew Schmitz, a 36-year-old resident of West Islip, New York, pleaded guilty to a

misdemeanor charge and faces, inter alia, a maximum term of one (1) year imprisonment. He is

married and lives with his wife and two-year old daughter in a small two-bedroom apartment.

They are expecting their second child in March. He is employed full-time and his wife is

employed part-time.

        We respectfully ask that a short postponement of sentence be granted. President-elect

Trump has stated his intention, multiple times, to issue pardons on his “first day” in office, with a

focus on non-violent defendants. Mr. Schmitz falls into the category of non-violent offender.

Although pardons may not be forthcoming immediately, a 45-day postponement of sentencing

would allow this Court to assess the nature and timing of Present-elect Trump’s follow-through.

Many January 6 defendants have already been sentenced to prison so there will be a disparity

which cannot be undone; however, many are not and will not be scheduled to be sentenced until

after Trump is inaugurated on January 20, 2025. The unfortunate timing of Mr. Schmitz’s

sentencing should not act to deny him the major benefit of a pardon that seems sure to come. As

the primary financial supporter of his family and a person with a high school education who

could not easily step into another job, incarceration, even for a short period of time, would have

an outsized impact on Matthew Schmitz and his family.




3
 https://time.com/7201565/person-of-the-year-2024-donald-trump-transcript/. (“Have you decided yet whether
you're going to pardon all of the January 6 defendants? Yes. You’re going to do all of them? I'm going to do case-
by-case, and if they were non-violent, I think they've been greatly punished. And the answer is I will be doing
that, yeah, I'm going to look if there's some that really were out of control. So you will not include those who
committed violent acts? Well, we're going to look at each individual case, and we're going to do it very
quickly, and it's going to start in the first hour that I get into office….”)



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       For all the foregoing reason, we respectfully ask that Mathew Schmitz’s sentencing be

continued for 45 days.




                                                   Respectfully submitted,




                                                   _____________________________
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                              Certificate of Service
I certify that a copy of the forgoing was filed electronically for all parties of record
                          on this 12th day of December, 2024

                               /s/ Tracey L. Eadie Gaffey
                              Tracey L. Eadie Gaffey
                             Assistant Federal Defender
                         Attorney for Mr. Matthew Schmitz




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